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                                 Yong Hee Chung
                               8
                               9
                              10                       UNITED STATES DISTRICT COURT
                              11                                 FOR THE
                                                      CENTRAL DISTRICT OF CALIFORNIA
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                              12
    SAN FRANCISCO, CA 94104
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                                    YONG HEE CHUNG,                        Case No.: 2:22-cv-01762
                              13
                                                Plaintiff,                 COMPLAINT FOR DAMAGES
                              14                                           FOR VIOLATIONS OF:
                                                             v.
                              15                                              1.) FAIR DEBT COLLECTION
                                    JEFFERSON CAPITAL                             PRACTICES ACT, 15 U.S.C.
                              16    SYSTEMS, LLC,                                 §§ 1692 ET SEQ.; AND
                              17                                              2.) ROSENTHAL FAIR DEBT
                                                Defendant.                        COLLECTION PRACTICES
                              18                                                  ACT CAL CIV §§ 1788, ET
                                                                                  SEQ.
                              19
                                                                              DEMAND FOR JURY TRIAL
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                              23 ///
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                               1                                         INTRODUCTION
                               2 1.    This is a case about a debt buyer who tried to collect money from a victim of
                               3       identity theft.
                               4 2.    YONG HEE CHUNG (“Plaintiff”), by Plaintiff’s attorney, brings this action
                               5       for actual damages, statutory damages, attorneys fees, and costs, against
                               6       JEFFERSON CAPITAL SYSTEMS, LLC (“Defendant”) for violations of the
                               7       Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and
                               8       the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788 et seq.
                               9       (“RFDCPA”), both of which prohibit debt collectors from engaging in abusive,
                              10       deceptive and unfair practices.
                              11 3.    Plaintiff makes these allegations on information and belief, with the exception
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                              12       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
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                              13       which Plaintiff alleges on personal knowledge.
                              14 4.    While many violations are described below with specificity, this Complaint
                              15       alleges violations of the statutes cited in their entirety.
                              16 5.    All violations by Defendant were knowing, willful, and intentional, and
                              17       Defendant did not maintain procedures reasonably adapted to avoid any such
                              18       violations.
                              19 6.    Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              20       includes all agents, principles, managing agents, employees, officers, members,
                              21       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                              22       representatives, and insurers of that Defendant named.
                              23                                JURISDICTION AND VENUE
                              24 7.    Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                              25       that such actions may be brought and heard before “any appropriate United States
                              26       district court without regard to the amount in controversy,” 28 U.S.C. § 1331,
                              27       which grants this court original jurisdiction of all civil actions arising under the
                              28 ///

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                               1        laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law
                               2        claims.
                               3 8.     This action arises out of Defendant’s violations of the FDCPA, and the
                               4        RFDCPA.
                               5 9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                               6        transactions occurred here, Plaintiff resides here, and Defendant transacts
                               7        business here.
                               8                                  FDCPA AND RFDCPA
                               9 10. In enacting the FDCPA, Congress found that:
                              10       a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                              11             collection practices by many debt collectors.         Abusive debt collection
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                              12             practices contribute to the number of personal bankruptcies, to marital
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                              13             instability, to the loss of jobs, and to invasions of individual privacy.
                              14       b.    Existing laws and procedures for redressing these injuries are inadequate to
                              15             protect consumers.
                              16       c.    Means other than misrepresentation or other abusive debt collection
                              17             practices are available for the effective collection of debts.
                              18       d.    Abusive debt collection practices are carried on to a substantial extent in
                              19             interstate commerce and through means and instrumentalities of such
                              20             commerce. Even where abusive debt collection practices are purely intrastate
                              21             in character, they nevertheless directly affect interstate commerce.
                              22       e.    It is the purpose of this title to eliminate abusive debt collection practice by
                              23             debt collectors, to insure that those debt collectors who refrain from using
                              24             abusive debt collection practices are not competitively disadvantaged, and to
                              25             promote consistent State action to protect Consumers against debt collection
                              26             abuses. 15 U.S.C. § 1692.
                              27 11. Similarly, when enacting the RFDCPA, the California Legislature found that:
                              28 ///

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                               1            The banking and credit system and grantors of credit to consumers are
                                            dependent upon the collection of just and owing debts. Unfair or
                               2            deceptive collection practices undermine the public confidence which
                               3            is essential to the continued functioning of the banking and credit
                                            system and sound extensions of credit to consumers. Cal. Civil Code
                               4            § 1788.1(a)(1).
                               5
                                   12. The FDCPA and the RFDCPA are both strict liability statutes. That is, a
                               6
                                       plaintiff need not prove intent or knowledge on the part of the debt collector to
                               7
                                       establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                               8
                                       1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                               9
                                       FDCPA is a strict liability statute that makes debt collectors liable for violations
                              10
                                       that are not knowing or intentional”).
                              11
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                                   13. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                              12
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                                       judged according to the “least sophisticated debtor” or “least sophisticated
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                              13
                                       consumer” standard. Gonzales at 1061. This standard is lower than the
                              14
                                       “reasonable debtor” standard, and is specifically designed to protect consumers
                              15
                                       of below average and sophistication or intelligence. Id. In addition, a plaintiff
                              16
                                       need not even have actually been misled or deceived by the debt collector’s
                              17
                                       communication. Rather, liability depends on whether the hypothetical least
                              18
                                       sophisticated debtor – someone who is uninformed and naïve – would have
                              19
                                       likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
                              20
                                       F.3d 1109, 1119 (9th Cir. 2014).
                              21
                                                                          PARTIES
                              22
                                   14. Plaintiff is a natural person who resides in the County of Los Angeles, State of
                              23
                                       California. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                              24
                                       1692a(3) and a “Debtor” as that term is defined by California Civil Code §
                              25
                                       1788.2(h).
                              26
                                   15. Defendant Jefferson Capital Systems, LLC is a Georgia corporation operating
                              27
                                       from an address of 16 Mcleland Rd, Saint Cloud, MN 56303, and is a “Debt
                              28

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                               1       Collector” as that term is defined by 15 U.S.C. § 1692a(6) and Cal. Civ. Code §
                               2       1788.2(c) because it regularly uses the mails and/or the telephone to collect, or
                               3       attempt to collect, directly or indirectly, defaulted consumer debts that it did not
                               4       originate. It operates a nationwide debt collection business and attempts to collect
                               5       debts from consumers in virtually every state, including consumers in the State of
                               6       California. Its principal, if not sole, business purpose is the collection of defaulted
                               7       consumer debts originated by others, and, in fact was acting as a debt collector as
                               8       to the delinquent consumer debt it attempted to collect from Plaintiff. Defendant
                               9       Jefferson is a bad debt buyer that buys large portfolios of defaulted consumer
                              10       debts for pennies on the dollar, which it then collects upon.
                              11 16. This case involves money due or owing or alleged to be due or owing from a
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                              12       natural person by reason of a consumer credit transaction. As such, this action
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                              13       arises out of a “consumer debt” and “consumer credit” as those terms are
                              14       defined by Cal. Civ. Code § 1788.2(f).
                              15                                  FACTUAL ALLEGATIONS
                              16 17. Plaintiff is individual residing in the County of Los Angeles in the State of
                              17       California.
                              18 18. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                              19       Defendant conducted and continues to conduct business in the State of
                              20       California.
                              21 19. On information and belief Defendant bought a Verizon Wireless debt for pennies
                              22       on the dollar and tried to collect it from Plaintiff.
                              23 20. Plaintiff is a victim of identity theft.
                              24 21. Plaintiff did not open a Verizon Wireless account and does not owe the debt.
                              25 22. On April 9, 2021, Defendant dunned Plaintiff for the Verizon Wireless account.
                              26 23. On information and belief, Defendant has, within the 12 months preceding the
                              27       filing of this complaint, attempted to collect a debt from Plaintiff that he does not
                              28       owe.

                                   COMPLAINT FOR DAMAGES                                                       PAGE 4 OF 6
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                               1                                    ACTUAL DAMAGES
                               2 24. Plaintiff has suffered actual damages as a result of these illegal collection and
                               3       intimidation tactics by this Defendant in the form of invasion of privacy, personal
                               4       embarrassment, loss of personal reputation, loss of productive time, nausea, and
                               5       feelings of fear, anxiety, hopelessness, anger, persecution, emotional distress,
                               6       frustration, upset, humiliation, and embarrassment, amongst other negative
                               7       emotions.
                               8                      CAUSES OF ACTION CLAIMED BY PLAINTIFF
                               9                                          COUNT I
                              10                         VIOLATION OF § 1692E OF THE FDCPA
                              11 25. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
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                              12       as though fully stated herein.
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                              13 26. A debt collector violates § 1692e of the FDCPA when it uses any false, deceptive,
                              14       or misleading representation or means in connection with the collection of any
                              15       debt.
                              16 27. Defendant violated § 1692e when it, among other qualifying actions and
                              17       omissions, willfully misrepresented the legal status of the debt, to wit: that it was
                              18       owed by Plaintiff.
                              19 28. Defendant violated § 1692e when it, among other qualifying actions and
                              20       omissions, failed to prominently inform Plaintiff that it was a debt collector.
                              21                                         COUNT II
                              22                       VIOLATION OF § 1788.17 OF THE RFDCPA
                              23 29. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              24       as though fully stated herein.
                              25 30. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with
                              26       the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.
                              27 ///
                              28 ///

                                   COMPLAINT FOR DAMAGES                                                      PAGE 5 OF 6
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                               1 31. Defendant violated § 1788.17 of the RFDCPA when it willfully engaged in
                               2       conduct, the natural consequence of which was the violation of 15 U.S.C. §
                               3       1692e.
                               4                                   PRAYER FOR RELIEF
                               5 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                               6            a) Award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) (FDCPA)
                               7                and pursuant to Cal. Civ. Code § 1788.30 (RFDCPA), against Defendant
                               8                and for Plaintiff, and,
                               9            b) Award of statutory damages in the amount of $1000.00 pursuant to 15
                              10                U.S.C. § 1692k(a)(1) (FDCPA) against Defendant and for Plaintiff, and,
                              11            c) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
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                              12                Civ. Code § 1788.30 (RFDCPA) against Defendant and for Plaintiff, and,
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                              13            d) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                              14                U.S.C. § 1692k(a)(1) (FDCPA) and pursuant to Cal. Civ. Code § 1788.30
                              15                (RFDCPA), against Defendant and for Plaintiff, and,
                              16            e) Award to Plaintiff of such other and further relief as may be just and
                              17                proper.
                              18                             TRIAL BY JURY IS DEMANDED.
                              19 32. Pursuant to the Seventh Amendment to the Constitution of the United States of
                              20       America, Plaintiff is entitled to, and demands, a trial by jury.
                              21
                              22                                          THE CARDOZA LAW CORPORATION
                              23 DATED: March 16, 2022                    BY: /S/ MICHAEL F. CARDOZA
                                                                          MICHAEL F. CARDOZA, ESQ.
                              24
                                                                          LAUREN B. VEGGIAN, ESQ.
                              25                                          ATTORNEYS FOR PLAINTIFF
                                                                          YONG HEE CHUNG
                              26
                              27
                              28

                                   COMPLAINT FOR DAMAGES                                                   PAGE 6 OF 6
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                               1           ELECTRONICALLY STORED INFORMATION REQUEST
                               2        This notice is to demand that you preserve all documents, tangible things and
                               3 electronically stored information (“ESI”) potentially relevant to any issues in the
                               4 above-entitled matter. This specifically includes, but is not limited to, all
                               5 information pertaining to the above matter, including specifically all recordings of
                               6 any telephone communication between your company and Plaintiff.
                               7        As used in this request, “you” and “your” or “your client” refers to your
                               8 organizations, and its predecessors, successors in interest, assignees, parents,
                               9 subsidiaries, divisions or affiliates, and their respective officers, directors,
                              10 employees, servants, agents, attorneys, and accountants.
                              11        Much of the information subject to disclosure or responsive to discovery is
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                              12 stored on your client’s current and former computer systems and other media and
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                              13 devices (such as: personal digital assistants, voice-messaging systems, online
                              14 repositories and cell phones).
                              15        Electronically stored information (“ESI”) should be afforded the broadest
                              16 possible definition and includes (for example and not as an exclusive list)
                              17 potentially relevant information whether electronically, magnetically or optically
                              18 stored.
                              19        This preservation obligation extends beyond ESI in yours or your client’s
                              20 care, possession or custody and includes ESI in the custody of others that is subject
                              21 to your client’s direction or control. You must notify any current or former agent,
                              22 attorney, employee, custodian or contractor in possession of potentially relevant ESI
                              23 to preserve such ESI to the full extent of your client’s obligation to do so, and you
                              24 must try to secure their compliance.
                              25
                              26
                              27
                              28

                                   ELECTRONICALLY STORED INFORMATION REQUEST
